The court incorporates by reference in this paragraph and adopts as the findings and orders of this court
the document set forth below. This document was signed electronically on July 28, 2017, which may be
different from its entry on the record.



IT IS SO ORDERED.

Dated: July 28, 2017




B17-17941                                     PMO\sbt

                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION - CLEVELAND


IN RE:                                             )      CHAPTER 13
                                                   )
MICHAEL J. CELIGA, SR.                             )      CASE NO. 17-13097
                                                   )
                   Debtor                          )      JUDGE ARTHUR I. HARRIS
                                                   )
                                                   )      PROPERTY ADDRESS:
                                                   )      ** 293 West Main Street
                                                   )         Madison, Ohio 44057


      AGREED ORDER RESOLVING OBJECTION OF DITECH FINANCIAL LLC
      TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN [Re: Docket #14]

         This cause came to be considered this day upon the June 22, 2017 Objection of DITECH

FINANCIAL LLC, hereinafter referred to as “DITECH”, to Confirmation of the Debtor’s




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Chapter 13 Plan [Docket #14], due notice of DITECH’s Objection having been given to all

parties in interest.

        The parties agree, as manifested by the signatures of their counsel at the end hereof, the

Objection of DITECH should be sustained to the extent set forth herein.

        The parties further agree that DITECH is a creditor of this estate, secured by a mortgage

upon real estate located at 293 West Main Street, Madison, Ohio 44057.

        The parties further agree that DITECH shall have an allowed secured claim for pre-

petition arrears in the amount of $19,075.91, and that said claim of DITECH shall be paid by the

Trustee, inside the Debtor’s Chapter 13 Plan. Payment on the pre-petition delinquency is to be

scheduled at $100.00 per month for the first twelve (12) months, leaving a remaining arrearage

balance of $17,875.91. Beginning with the thirteenth (13th) month of the Plan, DITECH shall

then receive a minimum of $372.42 per month for the remaining forty-eight (48) months, or until

paid in full.

        The parties further agree that the Plan shall not complete and discharge will not be

granted until the pre-petition arrearage is paid in full.


        IT IS THEREFORE ORDERED that for purposes of the Debtor’s Chapter 13 Plan,

DITECH shall have an arrearage claim of $19,075.91, which shall be paid inside the Plan by the

Trustee in installments of $100.00 per month for the first twelve (12) months, and a minimum of

$372.42 per month for the remaining forty-eight (48) months, or until paid in full, and the

Debtor’s Chapter 13 Plan, be and the same is hereby amended to conform therewith.

        IT IS FURTHER ORDERED that the Plan shall not complete, and discharge will not

be granted until the pre-petition arrearage is paid in full.




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       IT IS FURTHER ORDERED that the claims of DITECH shall be paid under the terms

of the Debtor’s Chapter 13 Plan, once confirmed by this Court.


       IT IS SO ORDERED.



                                                 ###


Submitted and approved by:


/s/ Peter M. O'Grady                              /s/ Robert J. Delchin
Reimer Law Co.                                    Biales Delchin Law LLC
Peter M. O'Grady #0093349                         Robert J. Delchin #0073821
Cynthia A. Jeffrey #0062718                       7215 Center Street
Edward A. Bailey #0068073                         Mentor, Ohio 44060
30455 Solon Road                                  440-266-1700
Solon, Ohio 44139                                 Fax 440-266-0006
440-600-5500                                      rdelchin@rcbiales.com
Fax 440-600-5521                                  Attorney for Debtor
pogrady@reimerlaw.com
Attorneys for DITECH




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                            LIST OF PARTIES TO BE SERVED

Via the Court's Electronic Case Filing System on these entities and individuals who are listed on
the court's Electronic Mail Notice List:

1.     Office of the U.S. Trustee
       at (registered address)@usdoj.gov

2.     Craig Shopneck, Chapter 13 Trustee
       ch13shopneck@ch13cleve.com

3.     Robert J. Delchin, Esq. , Attorney for Debtor
       rdelchin@rcbiales.com

4.     Peter M. O'Grady, Esq., Attorney for DITECH
       bknotice@reimerlaw.com

And by regular U.S. mail, postage prepaid, to:
5.     Michael J. Celiga, Sr., Debtor
       293 W Main Street
       Madison, OH 44057

6.     Lake County Treasurer
       Lake County Treasurer's Office
       105 Main Street
       Painesville, Ohio 44077




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